 Case 2:10-cr-00348-KJD-RJJ           Document 42         Filed 12/08/10   Page 1 of 2




                                                                   FILED
                                                                   ZES - 8

                                                            CLERK ,U.%.DISTRICT cotjRT
                                                               DlsTRlcT OF NEVADA
                              UN IT ED ST ATES D IS ug                 -
                                                                                  oEpury

                                      DIST RICT O F N EV AD A
U N ITED STA TES OF A M ERICA ,                     )
                                                    )
                        Plaintiff,                  )
                                                    )
                                                    J
                                                    )         2:10-CR-348-KJD (RJJ)
R YAN M tJEI-LER,aka A ltivdo l.opez,
                                                    )
                                                    )
                                                    )
                        Defendant.                  )
                                FIN AL O R DE R ()F FO R FEIT U RE
         O n Septem ber7,20l0.the U nited StatesD istrictCourtforthe D istrictofN evada entcred a
Prelim inaryO rderofForfeiture pursuantto Fed. R.Crim.P.32.2(b)(l)and(2)'
                                                                        ,andTitiel8,llnited
StatesCode,Section981(a)(l)(C)andTitle28,UnitedStatesCode,Section2461(c),baseduponthe
plea ofguilty by defendantRY AN M U ELLER , aka A lfredo Lopez to crim inaloflknsc, forfeiting
specificproptrty alleged in theIndiotmentand shovm by the Unittd Statesto haveaI'tquisitenexus
to theoflknseto which detbndantRYAN M UELLER, aka Alfredo Lopez pled guilty.
         This Courttinds the United States of America published the notice ofthe forfeiture in
alx ordanee w ith the law via the oftieial governm ent intcrnet forfeiture site, www.forfeiture.gov,
consecutively from September14,20l0 through October13, 2010,notifying aIlknow n third parties
of'theirrightto petition the Court.
        ThisCourtt-inds no petition svas tiled herein by oron behalfofany person orentity and the
tim e fortiling such petitions and claim s has expired.
                  jj Case 2:10-cr-00348-KJD-RJJ          Document 42               Filed 12/08/10    Page 2 of 2
    .   +




                 l            ThisCourttindsno petitionsare pending w ith regard to the assets nam ed herein and thetim e
              2 ? forpresenting such petitionshas expired.
              3               THEREFORE, IT Is ulllzvEBv O RIIER ED , Ao ltltlo fso ,Ax o o iàcltilEo thatal1right
!
:
                                                                                                                        ,

             4 j title,and interest in the property hereinaher described is condem ned, foffeited,and vested in the
             5 ' United States ofAm erica pursuantto Fed R,Crim.P.32.2(b)(4)(A)and (B);Fed,R.Crim.P.
                                                                .


1            6 32 2(c)(2);Title 18,United StatesCode,Secti
                        .                                on 981(a)(1)(C)and Title 28, U nited States Codc,                      ;

             7 Section 2461(c), 'and Title 2l,United StatesCode,Seetion 853(n)(7)and shatlbe disposed of
I              !
               1
             jI'(
                . accordi
                        ngto law:
             9                      a)      approximately96piecesol'stolenmail;and
             10                     b)      three(3)counterfeitpostalkeys(''propertyf')
            11?I              ITISFURTIIERORDERED ADJUDGED.AND DECREED
                                                           ,
                                                                   . thatany and at1forfeited !r
            12        funds,includingbutnotlilnited to, currency',currency equivalents,certilicatesofdeposit, asw ellas

            13ël anyincomederivedasaresultoftheUnitedStatesofAmerica'smanagementofany'propertyforfeited
            14 berein,andtbeproceedsfrom thesaleofanyforfeited propertyshallbedisposedofaccordingtolaw
                                                                                                                       . i
            15               The Clerk ishereby dirccted to send copiesofthisOrderto allcounselofrecord and three
            16ff certif-
                       iedcopiestotheUnited StatesAttorney'sOfficc             .                                            ;
            17                DA TED this-     t
                                               r
                                               .
                                               C
                                               jT
                                                ;
                                                , day of-             i
                                                                      .4:'..
                                                                                        ,   20 l0.
                                                                                                                            l
                                                                                                                            ,


            18                                                                                                              t
                 ;                                                                 N-
            191,                                                    U NIT D S'
                                                                             I-A T - S DISTRICT JUDGE
            20
            2l
                 I
            22
            23
            24 l
                 I!
            25
                                                                                                                            I
            26                                                                                                              l
              j1

                                                                                                                            I
                                                                                                                            I
                                                                                                                            1

             ?!                                                       2                                                     1
